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 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Defendant Nazaret Salmanyan
 4
 5                         IN THE UNITED STATES DISTRICT COURT
 6                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                )   Case No.: 2:08-cr-00427-MCE
 8   UNITED STATES OF AMERICA,                  )
                                                )   STIPULATION AND ORDER TO
 9                  Plaintiff,                  )   CONTINUE JUDGMENT AND
                                                )   SENTENCING
10       v.                                     )
     NAZARET SALMANYAN, et. al,                 )   Date:    November 29, 2012
11                                              )   Time:    9:00 a.m.
                    Defendants.                 )   Judge:   Hon. Morrison C. England, Jr.
12                                              )
13
14         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15   Judgment and Sentencing scheduled for November 29, 2012 at 9:00 a.m. is continued to
16   May 23, 2013 at 9:00 a.m. in the same courtroom. Philip A. Ferrari, Assistant United
17   States Attorney, and Thomas A. Johnson, Defendant’s attorney, both agree to this
18   continuance.
19
20   IT IS SO STIPULATED.
21
22
     DATED: November 20, 2012                        By:     /s/ Thomas A. Johnson_____
23                                                           THOMAS A. JOHNSON
                                                             Attorney for Defendant
24                                                           NAZARET SALMANYAN
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                                 STIPULATION AND ORDER             -1-
                            Case 2:08-cr-00427-MCE Document 758 Filed 11/21/12 Page 2 of 2


     DATED: November 20, 2012                                       BENJAMIN WAGNER
 1                                                                  United States Attorney
 2                                                            By:   /s/ Thomas A. Johnson for_
                                                                    Philip A. Ferrari
 3                                                                  Assistant U.S. Attorney
 4
                            IT IS SO ORDERED.
 5
     Dated: November 21, 2012
 6
 7                                                   __________________________________
                                                     MORRISON C. ENGLAND, JR
 8                                                   UNITED STATES DISTRICT JUDGE
 9
10   DEAC_Signatu re-END:




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                                         STIPULATION AND ORDER            -2-
